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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS


TODD COYER, et al.,                      Case No.: 1:22-cv-00362

            Plaintiffs,
      v.

UNIVAR SOLUTIONS USA INC., et al.,

            Defendants.                  April 26, 2022




                  PLAINTIFFS’ MEMORANDUM OF LAW
           IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
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       Plaintiffs, Todd Coyer, Karl Kisner, Lauryn Overbey, Lisa Solomon, and Sonny Pike,

(collectively, “Plaintiffs”), respectfully submit this Memorandum of Law in Opposition to

Defendants’ Motion (“Motion”) to Dismiss the Class Action Complaint (“Complaint” or “CAC”)

and their supporting Memorandum of Law (“Memorandum” or “Memo.”). 1

       Despite Defendants’ attempt to confuse and misconstrue the allegations in the Complaint,

Plaintiffs state more than sufficient factual allegations from which the Court can infer that

Defendants breached fiduciary duties owed to the Plan. The Court should not be misled by

Defendants’ attempted misdirection.

I.     BACKGROUND

       A.      Plaintiffs, Defendants, And The Plan Structure

       Plaintiffs are former participants in the Univar Solutions 401(k) Plan (“Plan”), a qualified

tax-deferred defined contribution retirement plan. CAC at ¶¶ 2, 9-13. The Plan is one of the

largest 401(k) plans in the United States, with 7,449 participants and assets totaling over $978

million by the end of 2020. Id at ¶ 4 (citation omitted). Plans with such substantial assets have

significant bargaining power and the ability to demand low-cost administrative and investment

management services in the marketplace. Id.

       Univar is the Plan sponsor and a fiduciary charged with administering the Plan. Id at ¶¶

5, 14. The Board and its members assembled the Administrative Committee and appointed the

Committee members to administer the Plan on Univar’s behalf, all of whom are also fiduciaries

of then Plan. Id at ¶¶ 15-17. Defendants contracted with the Fidelity Management Trust



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 “Defendants” refers collectively to Univar Solutions USA, Inc. (“Univar”), the Board of Directors of
Univar Solutions USA, Inc. (“Board”), and the Retirement Plan Committee of Univar Solutions USA,
Inc. (“Administrative Committee” or “Committee”). Capitalized terms not otherwise defined herein shall
have the same meaning as in the Complaint.
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Company (together with affiliated entities, “Fidelity”) to serve as the Plan trustee, holding Plan

assets in trust and performing all investments and asset allocations for the Plan. Id at ¶ 25. The

Plan pays its expenses from Plan assets, generally as a reduction of participants’ investment

income. Id at ¶ 22.

       B.      Plaintiffs’ Claims and Supporting Facts

       Plaintiffs assert three claims: (1) that Defendants failed to fully disclose the expenses and

risk of the Plan’s investment options to participants; (2) that Defendants allowed unreasonable

expenses to be charged to participants; and (3) that Defendants selected, retained, and/or

otherwise ratified high-cost and poorly-performing investments, instead of offering more prudent

alternative investments when such prudent investments were readily available at the time

Defendants selected and retained the funds at issue and throughout the Class Period.

       “ERISA is a comprehensive statute designed to promote the interests of employees and

their beneficiaries in employee benefit plans.” Shaw v. Delta Air Lines, Inc., 463 U.S. 85, 90

(1983). An ERISA fiduciary has a duty of prudence, which requires that he or she act “with the

care, skill, prudence, and diligence under the circumstances then prevailing that a prudent man

acting in a like capacity and familiar with such matters would use in the conduct of an enterprise

of a like character and with like aims.” Daugherty v. Univ. of Chicago, 2017 WL 4227942, at *8

(N.D. Ill. Sept. 22, 2017) (quoting 29 U.S.C. § 1104(a)(1)(B)). ERISA fiduciaries also have a

duty of loyalty, which requires that a fiduciary ‘“discharge his duties with respect to a plan solely

in the interest of the participants and beneficiaries’ and ‘for the exclusive purpose of: (i)

providing benefits to participants and their beneficiaries; and (ii) defraying reasonable expenses

of administering the plan[.]’” Id. (quoting 29 U.S.C. § 1104(a)(1)(A)). As fiduciaries who

manage the Plan, Defendants have “a continuing duty—separate and apart from the duty to

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exercise prudence [and loyalty] in selecting investments at the outset—to monitor, and remove

imprudent, trust investments.” Tibble v. Edison Int’l, 135 S. Ct. 1823, 1828 (2015).

       During the Class Period, a significant portion of the Plan’s assets were invested in the

Fidelity Freedom funds target date suite (the “Active Suite”) (in large part because Defendants

selected the suite as the Plan’s Qualified Default Investment Alternative). Id. at ¶¶ 65-76.

Offered in the Plan since at least December 2009, the Active Suite is riskier and more expensive

than its index fund counterpart, the Fidelity Freedom Index funds (“Index Suite”), with which it

shares the same investment management company and investment managers, and almost the

same equity glide path (i.e., allocation strategy). Id. at ¶¶ 62, 64, 67, 69. In 2013 and 2014, the

Active Suite underwent a strategy overhaul, authorizing the investment managers to deviate from

the glide path allocations by 10% and increase exposure to market volatility. Id. at ¶¶ 75-76.

Since the strategy overhaul, the Active Suite has consistently underperformed several of the most

popular readily investable alternatives in the TDF marketplace. Id. at ¶¶ 80-82. The strategy

overhaul and subsequent underperformance did not go unnoticed by the investing public,

including other 401(k) plans, as evidenced by the $16 billion in net outflows the Active Suite

suffered from 2014 to 2018. Id. at ¶79. Nonetheless, Defendants retained -- and, by all

indications, never considered removing -- the Active Suite.

       From the start of the Class Period through at least December 31, 2018, Defendants also

allowed the Plan to be charged total amounts of recordkeeping and administrative (“RK&A”)

services fees that far exceeded the reasonable market rate. The RK&A services provided to the

Plan are and were the same standard services provided to all large defined contribution plans,

like the Plan. Id. at ¶52. Fidelity did not provide any services to the Plan that were unusual or


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out of the ordinary. Regardless, for large plans like the Plan, any differences in services are

immaterial to pricing considerations, the primary drivers of which are the number of participant

accounts and whether plan fiduciaries solicited competitive bids to determine the reasonable

market rate for the services required. Id. at ¶47.

II.     ARGUMENT

        A.     Standard of Review

        ERISA’s duty of prudence requires fiduciaries to act “with the care, skill, prudence, and

diligence under the circumstances then prevailing that a prudent man acting in a like capacity

and familiar with such matters would use in the conduct of an enterprise of a like character and

with like aims.” 29 U.S.C. § 1104(a)(1)(B). The standard applies to both the initial selection of

an investment and the continuous monitoring of investments to remove imprudent ones. Tibble,

135 S. Ct. at 1828-29. A breach of the fiduciary duty of prudence may be alleged with

circumstantial facts, as Plaintiffs have comprehensively done here.

        In order to survive a motion to dismiss, a complaint must simply plead “enough facts to

state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, at

570 (2007). The Court should “construe the complaint in the light most favorable to plaintiff,

accept all well-plead facts as true, and draw reasonable inferences in plaintiff’s favor.” Taha v.

Int'l Bhd. Of Teamsters, Loc. 781, 947 F.3d 464, 469 (7th Cir. 2020) (citing Yeftich v. Navistar,

Inc., 722 F.3d 911, 915 (7th Cir. 2013)).

        Courts evaluating ERISA breach of fiduciary duty claims must perform a context-specific

inquiry, consistent with Tibble’s guidance regarding ERISA “fiduciaries’ continuing duty to

monitor all plan investments and service arrangements and remove imprudent ones.” Hughes v.

Northwestern University, 142 S. Ct. 737, 738 (2022) (citing Tibble, 135 S. Ct. 1823).

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          B.     Plaintiffs State Claims That Defendants Breached Their Fiduciary Duties

          Defendants’ framing of Plaintiffs’ claims for breach of fiduciary duty as outcome-based,

rather than process-based, completely misconstrues the well-plead allegations in the Complaint.

Defendants urge this Court to adopt a pleading standard requiring Plaintiffs to plead specific

facts regarding the decision-making process, relying on Divane v. Northwestern Univ., 953 F.3d

980, 989-91 (7th Cir. 2020), vacated and remanded sub nom. Hughes v. Northwestern Univ., 142

S.Ct. 737 (2022); Memo. at 4. However, in Hughes, the Supreme Court recognized that the

Divane court applied too strict a pleading standard, which it noted was inconsistent with the

context-specific inquiry required by ERISA, and failed “to take into account respondents’ duty to

monitor all plan investments and remove any imprudent ones,” as articulated in Tibble. Hughes,

142 S. Ct. at 740. As the Supreme Court noted in Tibble, a plaintiff may allege that a fiduciary

breached the duty of prudence by failing to properly monitor investments and remove imprudent

ones. Tibble, 135 S. Ct. at 1828-29.

          ERISA plaintiffs are not required to plead their breach of fiduciary claims with a degree

of precision only possible after review of deliberative information only in the possession of the

plan fiduciaries. See Allen v. GreatBanc Tr. Co., 835 F.3d 670, 678 (7th Cir. 2016). Instead, a

claim alleging a breach of fiduciary duty may survive a motion to dismiss if the court, based on

circumstantial factual allegations, “from which a factfinder could infer that the process was

inadequate.” Id. “This is particularly true in ERISA cases because ‘ERISA plaintiffs generally

lack the inside information necessary to make out their claims in detail unless and until discovery

commences.’” Id. (quoting Braden v. Wal–Mart Stores, Inc., 588 F.3d 585, 601 n.10 (8th Cir.

2009)).



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       Plaintiffs’ allegations, taken together, are straightforward “circumstantial facts”

establishing that Defendants employed a flawed process that failed to adequately consider

warning signs associated with the Plan’s investments. See Kruger v. Novant Health, Inc., 131 F.

Supp. 3d 470, 476 (M.D.N.C. 2015). As discussed below, Plaintiffs have provided meaningful

benchmarks for comparison, which provide sufficient circumstantial facts to support the

inference that, in light of the information that was available to Defendants throughout the Class

Period, their retention of the Active Suite during the Class Period was unreasonable.

               1.      Plaintiffs Plausibly Allege that Defendants Caused the Plan to Pay
                       Excessive Recordkeeping and Administrative Fees
       Defendants suggest that Plaintiffs fail to provide a like-to-like comparison or to show a

disparity sufficient to suggest a deficient decision-making process. Memo. at 5-6. This

argument is based entirely on a misstatement of the record and the creative misapplication of

legal authorities. Turning once again to Divane for support, Defendants argue that the fees

charged to participants during the Class Period are reasonable. However, Divane is readily

distinguishable, as the district court there granted dismissal of the complaint after more than one

year of discovery and found the recordkeeping arrangement justified by special circumstances,

including product access and termination penalties, while there has been no discovery in this

case and there is no sufficient justification for the overpayment. 953 F.3d at 984, 986. The plan

in Divane had a unique arrangement under which it utilized two separate recordkeepers, enabling

the plan to continue to offer funds with a lower surrender charge to its participants. Id. No such

circumstance, or indeed any analogous situation, is present here. Defendants also cite to Martin

v. CareerBuilder, LLC, 2020 WL 3578022, at *4 (N.D. Ill. July 1, 2020), and Meiners v. Wells

Fargo & Co., 898 F.3d 820, 823 (8th Cir. 2018), to suggest that Plaintiffs must do more than


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point to less expensive alternatives with some similarity to provide a benchmark. Despite

Defendants’ unsupported suggestion to the contrary, Plaintiffs provide just that.

       Plaintiffs’ well-plead allegations demonstrate that Defendants caused the Plan to pay

grossly excessive fees for services they could have obtained at a fraction of the price. This

conduct clearly falls short ERISA’s duty of prudence. See 29 U.S.C. § 1104(a)(1)(B). Plaintiffs

provide meaningful comparator plans, all with a similar number of participants. CAC at ¶¶ 56-

60. Some of these plans used Fidelity as their recordkeeper, while others used different high-

quality, national recordkeepers that were capable of providing services to the Plan. Id. Indeed,

Plaintiffs engage in apples-to-apples comparisons of fees paid on a per participant basis, which is

the way RK&A fees are evaluated by competent fiduciaries. CAC at ¶¶ 56-60. The fact that

each of the other similarly-sized plans were receiving at least the same services for less provides

exactly the circumstantial evidence sufficient to create an inference of imprudence. Sweda v.

Univ. of Pennsylvania, 923 F.3d 320, 332 (3d Cir. 2019) (citing Tussey v. ABB, Inc., 746 F.3d

327, 336 (8th Cir. 2014) (“finding fiduciaries breached their duties by ‘[failing to] (1) calculate

the amount the Plan was paying [the recordkeeper] for recordkeeping through revenue sharing,

(2) determine whether [the recordkeeper's] pricing was competitive, [or] (3) adequately leverage

the Plan's size to reduce fees,’ among other things.”).

       Defendants also argue that Plaintiffs do not provide appropriate comparators, stating that

Plaintiffs compare Univar’s Plan to “plans ranging from fewer than 5,000 participants to almost

double that size and providing no allegations as to the plans’ assets.” Memo. at 6. Contrary to

this assertion, as alleged in the Complaint, the marginal cost of adding an additional participant

to a recordkeeping platform is relatively low. CAC at ¶ 41. Similarly, the average cost to a

recordkeeper of providing services to a participant does not hinge on that participant’s account

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balance. Id. at ¶ 44. Thus, the Plan should have been able to achieve lower RK&A fees that

other plans with a similar number of participants achieved, regardless of the plan’s total assets.

        Furthermore, any minor variation in the services chosen by a large plan do not affect the

amount charged by recordkeepers for such basic and fungible services. Id. A plan with 5,300

participants and a plan with 8,000 participants would effectively receive the same package of

RK&A services and fees. 2 Plaintiffs have also alleged that comparable plans of all sizes -- larger

and smaller than the Plan -- were able to achieve lower RK&A fees. Id. at ¶¶ 54-59. These

circumstantial facts indicate that Defendants’ fiduciary process was deficient because, despite the

Plan’s size and leverage, the Plan paid between 129% and 195% more than smaller comparator

plans. CAC at ¶ 56.

                2.      Plaintiffs Plausibly Allege Numerous Issues with the Active Suite,
                        Including Its High Investment Management Fees
        Defendants deliberately misconstrue Plaintiffs’ allegations regarding the Active Suite’s

high investment management fees, suggesting that Plaintiffs claim that such high management

fees alone rendered the decision to retain the Active Suite imprudent. Memo. at 7. As detailed in

the Complaint, however, Plaintiffs don’t merely argue that the difference in fees alone

substantiate the fiduciary breach, but rather that the risk profile and expectation of return of the

Plan’s investments did not and do not warrant the significantly more expensive fees charged to

participants. CAC at ¶¶ 64-69, 73-82. Plaintiffs do not suggest that a fiduciary must always

offer the cheapest funds available, but rather that, given the information available to Defendants

at the time of their decisions to select and retain the investments at issue, they imprudently


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 Compare, for example, the RK&A fees of $42 per participant for The Boston Consulting Group, Inc.
Employees’ Savings Plan and Profit Sharing Retirement Fund with 8,067 participants and $43 per
participant for the Bausch Health Companies Inc. Retirement Savings Plan of 8,902 participants, with the
Plan’s $76 per participant for a plan of 5,374 participants. CAC at ¶ 56.
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caused the Plan to pay excessive fees. The authorities cited by Defendants do not address this

point, instead attacking a strawman of their creation which does not appear in the Complaint, and

are therefore inapposite. 3

        Defendants’ argument regarding Plaintiffs’ comparison of the Active Suite to the Index

Suite is similarly flawed. Defendants argue that plaintiffs making fee comparisons must identify

funds with similarities such as “the same management approaches, investment strategies, indices,

styles, and risk-and-reward profiles.” Memo. at 7 (citing Davis v. Washington, 960 F.3d 478,

484–87 (8th Cir. 2020)). However, Defendants’ “apples-to-oranges” rhetoric focuses too

myopically on the few differences between the Active and Index Suites, rather than the

substantial similarities. Memo. at 7. The Active and Index Suite are both TDFs and share, inter

alia, the same investment management team and nearly identical glide paths (which are derived

from the same investment philosophy). 4 CAC at ¶ 64. These are not just “some similarities.”

        Further demonstrating the weakness of Defendants’ position, the majority of district

courts across the country have rejected Defendants’ arguments regarding the suitability of the

Index Suite as a comparator to Active Suite in similar cases. See e.g., In re Biogen, Inc. ERISA

Litig., No. 20-CV-11325-DJC, 2021 WL 3116331, at *6 (D. Mass. July 22, 2021) (“Disputes

over the appropriateness of these benchmarks, however, are inappropriate at the motion to

dismiss stage”); Jones v. Coca-Cola Consol., Inc., 2021 WL 1226551 (W.D.N.C. Mar. 31,



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 See Martin, 2020 WL 3578022, at *3; Loomis v. Exelon, 658 F.3d 667, 670 (7th Cir. 2011) (“But
fiduciaries are not required to pick the best performing fund. Nor are they required to pick the lowest-
cost fund * * *. The existence of a cheaper fund does not mean that a particular fund is too expensive in
the market generally or that it is an otherwise imprudent choice.”).
4
 Given these similarities, courts have found analogous allegations “sufficient at the pleading stage to
create the inference that the Index Suite could serve as a suitable comparator for the Active Suite.” In re
LinkedIn ERISA Litig., 2021 WL 5331448 (N.D. Cal. Nov. 16, 2021) (citing In re: Prime Healthcare
ERISA Litig., 2021 WL 3076649 (C.D. Cal. July 16, 2021)).
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2021); In re Omnicom ERISA Litig., 2021 WL 3292487, at *13 (S.D.N.Y. Aug. 2, 2021)

(“Fidelity also uses the same name for both suites – “Freedom Funds” – suggesting that both

were under the same umbrella of Fidelity investment products… [a]t this stage, plaintiffs’

allegations of similarity make it at least plausible that the two suites will be found to be

comparable.”); In re MedStar ERISA Litig., 2021 WL 391701, at *6 (D. Md. Feb. 4, 2021)

(“Courts have specifically held that the determination of the appropriate benchmark for a fund is

not a question properly resolved at the motion to dismiss stage.”). 5

        Finally, the fact that Defendants eventually replaced the Active Suite with the FIAM

Index Target Date Commingled Pools is hardly proof of “proactive changes over time,” as

Defendants assert. Belated replacement of an imprudent investment does not absolve fiduciaries

of their failure to do so earlier. See Tibble, 135 S.Ct. at 1828. Indeed, the Complaint alleges

facts which suggest Defendants should have been aware of the Active Suite’s numerous red flags

far earlier than 2019. CAC at ¶¶ 80-82. Defendants only replaced the Active Suite after

ignoring warning signs for years, causing Plan participants to miss out on the greater

appreciation generated by other prudent alternative TDFs.

                3.      Defendants’ Continued Retention of the Active Suite Supports the
                        Inference that They Breached Their Fiduciary Duties

        Rather than addressing Plaintiffs’ factual averments regarding the Active Suite’s

underperformance, Defendants instead suggest that the Complaint is focused on outcomes, rather

than process, relying on the benefit of hindsight. Memo. at 9. In doing so, Defendants


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 Defendants’ argument that the fees for the Active Suite are “within the ranges courts have found
reasonable when granting motions to dismiss” (Memo. at 8) is similarly unavailing, as the inquiry of
whether Defendants breached their fiduciary duty is inherently context-specific. Fifth Third Bancorp v.
Dudenhoeffer, 573 U.S. 409, 425 (2014). The Court should decline Defendants’ invitation to create a
categorical rule regarding the reasonableness of expense ratios without regard to prevailing conditions
specific to the Plan during the Class Period.
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demonstrate a fundamental misunderstanding of the nature of Plaintiffs’ claims. Plaintiffs do not

disagree that the fiduciary duty of care requires prudence rather than prescience, or that claims

for breach of fiduciary duty are premised upon factual allegations that defendants improperly

acted in disregard of prevailing conditions. Indeed, this premise is the backbone of Plaintiffs’

claims that the Active Suite’s continued underperformance at the start of the Class Period

relative to its apt comparators (identifiable in real time) should have led Defendants to

investigate the continued prudence of retaining the Active Suite and removed the funds.

       Defendants attempt to mischaracterize Plaintiffs’ contentions regarding the unsuitability

of the Active Suite as an investment option for the Plan as an argument that actively-managed

funds are per se imprudent. Rather, Plaintiffs only and specifically contend that the Active Suite

specifically was not appropriate for the Plan during the Class Period. CAC at ¶¶ 67-76.

Defendants also pin their argument to the few periods where the Active Suite outperformed

competitors, suggesting that this somehow shows that the retention of the funds was prudent, and

note that the criticisms of the Active Suite by industry experts alleged in the Complaint occurred

before the Class Period. Memo. at 9-10. However, Plaintiffs allege multiple indicia of the

Active Suite’s unsuitability for the Plan, including, inter alia, the facts that the Active Suite’s

three- and five-year annualized returns underperformed its competitors as of the start of and

throughout the Class Period and that the $5.4 billion in outflows from the Active Suite in 2018.

CAC at ¶¶ 79, 81-82. The fact that industry criticisms of the Active Suite were available to

Defendants before the Class Period actually bolsters Plaintiffs’ claims. Defendants cannot

credibly argue that the eventual removal of the Active Suite in 2019 is “proactive” (Memo. at

12), while acknowledging Defendants failed to consider the industry criticisms of the Active

Suite available before the Class Period, which would have been sufficient to put any reasonably

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prudent fiduciary on notice of the Active Suite’s unsuitability for inclusion in the Plan

investment menu. Similarly, investors’ continued use of the Active Suite in 2018 (particularly

given the funds’ incumbency advantage) does not in any way excuse Defendants’ failure to react

to the significant red flags pertaining to the Active Suite during the Class Period. Defendants’

failure to react to real-time warning signs, including significant net asset outflows, is sufficient to

infer imprudence. Martin, 2020 WL 3578022, at *5 (citing Sweda, 923 F.3d at 324).

        Defendants also take issue with Plaintiffs’ comparison of the Active Suite to four of the

largest non-Fidelity managers in the TDF marketplace. 6 Memo. at 10. Contrary to Defendants’

assertions, Plaintiffs do not allege that failure to select the best-performing fund, or even a better-

performing fund, automatically constitutes a fiduciary breach. Nor do Plaintiffs suggest that a

fiduciary must “reflexively jettison investment options in favor of the prior year’s top

performers.” Patterson v. Morgan Stanley, 2019 WL 4934834, at *11 (S.D.N.Y. Oct. 7, 2019).

Rather, Plaintiffs allege that Defendants, in failing to consider the risk of the Active Suite, its

underperformance, and its excessive fees through the Class Period, coupled with the notable

capital flight and negative press, ignored warning after warning that the Active Suite was not

suitable for Plan participants. While investment losses are not necessarily proof that a fiduciary

breached their duty of care, coupled with a thorough pattern of ignoring red flags and undue risk,

they are sufficient to create the inference that prudent fiduciary in like circumstances would have

acted differently. Daugherty, 2017 WL 4227942, at *8. Finally, while ERISA does not require a

minimum performance history for investment options, three- and five-year performance



6
 Plaintiffs selected the non-Fidelity comparators on the basis that those four TDFs represent the primary
offerings of the Freedom Funds’ top competitors, which collectively manage nearly 60% of all assets
invested in TDFs. Disputes over the appropriateness of these benchmarks, however, are inappropriate at
the motion to dismiss stage. Daugherty, 2017 WL 4227942, at *8.
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comparisons are widely regarded by investment professionals and the investment policy

statements of many defined contribution retirement plans as the most important metrics for

evaluating whether investment options should be maintained in a retirement plan lineup. CAC at

¶ 32 n.21; Cunningham v. Cornell Univ., 2019 WL 4735876, at *13 (S.D.N.Y. Sept. 27, 2019);

Biogen, 2021 WL 3116331, at *6; Ramos v. Banner Health, 461 F. Supp. 3d 1067, 1097 (D.

Colo. 2020). 7

        C.       Plaintiffs State Claims that Defendants Failed To Monitor Fiduciaries And
                 Co- Fiduciaries, And Engaged In Knowing Breaches Of Trust
        When a fiduciary has and exercises the power to appoint and remove plan administrators,

it has the duty to monitor those appointees. Lingis v. Motorola, Inc., 649 F. Supp. 2d 861, 881

(N.D. Ill. 2009) (citing Baker v. Kingsley, 387 F.3d 649, 663 (7th Cir. 2004)). As alleged in the

Complaint, Univar was responsible for appointing and removing plan administrators; however,

Univar failed to adequately monitor the Plan fiduciaries and the performance of Plan investment.

CAC at ¶¶ 16, 107-115. Defendants argue that Plaintiffs’ allegations fail to state a claim for a

duty to monitor claim, based on Defendants’ mistaken view that Plaintiffs have failed to state a

breach of fiduciary duty claim. As already discussed, Defendants are incorrect. See supra

Section II.B. Defendants’ only other argument on this point is that the duty to monitor requires

monitoring at reasonable intervals, rather than a review of all business decisions. Memo. at 13-

14. This fails to acknowledge that, while the discharge of a fiduciary’s monitoring duties does



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 Defendants halfheartedly attack Plaintiffs’ breach of loyalty claim. Memo. at 12-13. Their argument
ignores Plaintiffs’ allegations regarding Defendants’ retention of the Active Suite, use of high-cost share
classes, and failure to monitor fees enabled Fidelity to collect its inflated compensation from participants.
CAC at ¶¶ 51-60. Courts routinely decline to dismiss disloyalty claims where the factual allegations are,
as here, tied to the prudence claims because discovery of the shared facts would resolve both claims. See,
e.g., Kruger, 131 F. Supp. 3d at 474-80; Morin v. Essentia Health, 2017 WL 4876281, at *1 (D. Minn.
Oct. 27, 2017) (citing Tussey, 746 F.3d at 335; Braden, 588 F.3d at 595).
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not require the review of all business decisions, “[a] plaintiff may bring a claim for breach of

duty of prudence if a trustee fails to monitor a plan’s investment and respond to changes in

circumstances to protect the interests of participants.” Godfrey v. GreatBanc Tr. Co., 2020 WL

4815906, at *10 (N.D. Ill. Aug. 19, 2020) (citing Armstrong v. LaSalle Bank Nat. Ass’n, 446

F.3d 728, 732 (7th Cir. 2006)). 8 The Seventh Circuit has held that a “trustee who simply ignores

changed circumstances that have increased the risk of loss to the trust’s beneficiaries is

imprudent.” Armstrong, 446 F.3d at 734. Plaintiffs allege exactly that, pointing to Defendants’

failure to react to the consistent underperformance and increased risk of the Active Suite,

particularly in the aftermath of the Active Suite’s strategic overhaul. CAC at ¶¶ 75-82.

       Defendants briefly argue that Plaintiffs’ alternative participation claim for non-fiduciaries

should be dismissed because there are no allegations of specific conduct or knowledge by

Defendants in a non-fiduciary capacity. Memo. at 14. However, the facts alleged in the

Complaint clearly establish that Defendants possessed the requisite knowledge and information

to avoid fiduciary breaches at issue here and knowingly participated in (or egregiously

disregarded) breaches of fiduciary duty by permitting the Plan to offer a menu of unsuitable and

expensive investment options. CAC at ¶¶ 14-17, 59-60, 62-66, 82, 107-115.

       D.      Plaintiffs Have Standing to Challenge Funds In Which They Did Not
               Personally Invest and Seek Prospective Injunctive Relief

       Finally, Defendants’ argument regarding standing, Memo. at 14-15, ignores the

fundamental character of ERISA breach of fiduciary duty claims; particularly, that a suit under




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 Both of the cases cited by Defendants involved summary judgment determinations, with the benefit of
evidence compiled in discovery and expert testimony, neither of which are available at this procedural
stage. See generally Fish v. Greatbanc Trust Co., 2016 WL 5923448 (N.D. Ill. Sept. 1, 2016); Howell v.
Motorola, Inc., 633 F.3d 552 (7th Cir. 2011).
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29 U.S.C. §1132(a)(2) is “brought in a representative capacity on behalf of the plan as a whole,”

and remedies under §1109 “protect the entire plan.” Braden v. Wal-Mart, Inc., 588 F.3d 585,

593 (8th Cir. 2009). Plaintiffs allege personal injury in fact with respect to the Active Suite and

the Plan’s RK&A and investment management fees. CAC at ¶¶ 9-13, 21. Defendants claim that

Plaintiffs have not demonstrated an injury in fact for every single fund in the Active Suite, and,

therefore, cannot establish standing with regard to the funds in which they were not invested,

relying on Brown-Davis v. Walgreen Co., 2020 WL 8921399, at *3 (N.D. Ill. March 16, 2020).

Memo. at 14. However, in Cutrone v. Allstate Corp., the court explicitly rejected the reasoning

of the Walgreen court, noting “that the breaches of duty may have impaired the value of other

funds does not mean that the plaintiffs have no stake in the duty breach - they do, because they

were allegedly harmed by the same breach.” 2021 WL 4439415, at *5 (N.D. Ill. Sept. 28, 2021).

“[B]ecause each [P]laintiff here has alleged Article III standing, they may seek relief on behalf of

the [P]lan or other participants, even when relief sweeps beyond their own injury.” Id.; see also

Peters v. Aetna Inc., 2 F.4th 199, 221 (4th Cir. 2021); Braden v. Wal-Mart Stores, Inc., 588 F.3d

585, 593 (8th Cir. 2009); Fallick v. Nationwide Mut. Ins. Co., 162 F.3d 410, 423 (6th Cir.

1998). 9

III.       CONCLUSION

           The Court should deny Defendants’ Motion to Dismiss in its entirety.10


9
 This standing analysis applies equally to claims for injunctive relief, as plaintiffs in an ERISA case may
seek relief on behalf of the entire plan, even if they themselves will not personally benefit from some of
the relief sought. See Braden, 588 F.3d at 593 (holding participants can assert claims on behalf of “the
entire Plan” to “seek relief . . . that sweeps beyond [their] own injury”). As explained above, Plaintiffs
allege personal injury in fact and, thus, have sufficiently alleged standing to bring each of their claims on
behalf of the Plan and proposed class. CAC at ¶¶ 9-13, 21; Cutrone, 2021 WL 4439415 at *5.
10
  Should the Court find the claims and allegations against Defendants deficient in any manner, Plaintiffs
respectfully request leave to amend to cure any such deficiencies. Leave to amend should be “freely
given when justice so requires” under Fed. R. Civ. P. 15(a). Foman v. Davis, 371 U.S. 178, 182 (1962).
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Dated: April 26, 2022                                    Respectfully submitted,
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Plaintiffs stand ready to add further allegations regarding the defects in Defendants’ investment and
service provider selection and monitoring processes should the Court require it.
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                                 CERTIFICATE OF SERVICE

       Pursuant to Rule 5 of the Federal Rules of Civil Procedure and Rule 5.5 of the Local

Rules of the Northern District of Illinois, I hereby certify that on April 26, 2022 a true and

correct copy of the foregoing document was filed with the Court utilizing its ECF system, which

will send notice of such filing to all counsel of record.


                                                       By:    /s/ P. Andrew Fleming
                                                              P. Andrew Fleming
